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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

JENNIFER JARAMILLO GALLAGA  §
                            §
          Petitioner,       §
                            §
v.                          §
                            §                                    Case No.:
JOSE ROBERTO ZAVALA RAMIREZ §
                            §
                            §
          Respondent.       §


         VERIFIED PETITION FOR RETURN OF CHILD TO PETITIONER AND
                     REQUEST FOR EXPEDITED HEARING

The Convention on the Civil Aspects of International Child Abduction, done at The Hague
On October 25, 1980; International Child Abduction Remedies Act, 22 U.S.C. § 9001 et seq.

                                                    I. Preamble

         1.       Petitioner, Jennifer Jaramillo Gallaga, brings this Petition pursuant to The

Convention on the Civil Aspects of International Child Abduction, done at the Hague on October

25, 19801 (hereinafter the “Hague Convention” or “Convention”), and the International Child

Abduction Remedies Act2 (hereinafter “ICARA”), 22 U.S.C. § 9001, et.seq. (1995). Copies of

the Convention and ICARA are attached hereto as Exhibits “A” & “B”, respectively.

         2.       The Convention and ICARA came into effect in the United States of America on

July 1, 1998 and went into effect between the United States of America and Mexico, the habitual

residence of the minor child, on October 1, 1991.




1
  T.I.A.S. No. 11,670, at 1, 22514 U.N.T.S. at 98, reprinted in 51 Fed. Reg. 10493 (1986), a copy of which is
attached as Exhibit A.
2
  22 U.S.C. §9001 et. seq. (formerly 42 U.S.C. § 11601, et. seq.) ICARA was created to deal with the sudden
abduction of children and to allow a petitioner to assert his or her rights in exigent circumstances. See Distler v.
Distler, 26 F.Supp.2d 723, 727 (D.N.J. 1998).
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         3.        The objects of the Convention are as follows: (1) to secure the immediate return

of a child wrongfully removed or wrongfully retained in any Contracting State; and (2) to ensure

that rights of custody and of access under the law of one Contracting State are effectively

respected in other Contracting States. See Hague Convention, Art. 1.3

         4.        The Convention applies to cases in which one parent wrongfully removes and/or

retains his or her child, who is under the age the age of sixteen (16) years from the child’s

“habitual residence”4 in breach of the other parent’s custodial rights, which were actually being

exercised at the time of the wrongful removal5 or wrongful retention6 of the child.

         5.        This case involves Respondent’s wrongful removal of the parties’ daughter,

B.M.Z.7 (hereinafter referred to as “the child”), who is under sixteen years of age, from the




3
  As has been stated by other courts addressing Hague cases, the Convention therefore authorizes a federal district
court to determine the merits of the abduction claim but it does not allow it to consider the merits of any underlying
custody dispute. Morris v. Morris, 55 F.Supp.2d 1156, 1160 (D. Colo. 1999) (recognizing that “[p]ursuant to
Article 19 of the Convention, [this Court has] no power to pass on the merits of custody”); see also Currier v.
Currier, 845 F.Supp. 916 (D. N.H. 1994) citing Friedrich v. Friedrich, 983 F2d 1396, 1399 (6th Cir. 1993);
Meredith v. Meredith, 759 F.Supp. 1432, 1434 (D. Ariz. 1991). The court’s role is not to make traditional custody
decisions but to determine in what jurisdiction the child should be physically located that the proper jurisdiction can
make those custody decisions. Loos v. Manuel, 621 A.2d 1077 (N.J. Super. Ct. Ch. Div. 1994).
4
  The Convention does not define the term “habitual residence.” In Larbie v. Larbie, 690 F.3d 295, 310 (5th Cir.
2012), the Fifth Circuit stated that “[t]he inquiry into a child’s habitual residence is not formulaic, rather it is a fact-
intensive determination that necessarily varies with the circumstances of each case.” (citing Whiting v. Krassner,
391 F.3d 540, 546 (3rd Cir. 2004). The inquiry requires the court to balance the interest of the child and the
intentions of the parents. See, e.g. Mozes v. Mozes, 239 F.3d 1067, 1072-73 (9th Cir. 2002). The Fifth Circuit
“adopted an approach that beings with the parent’s shared intent or settled purpose regarding their child’s
residence.” (quoting Nicolson v. Pappalardo, 605 F.3d 100, 104 (1st Cir. 2010)).
5
  Article 3 of the Hague Convention provides that the removal or retention of a child is wrongful where it violates
the custody rights of another person that were actually being exercised at the time of the removal or retention or
would have been exercised but for the removal or retention.” Lops at 935; “[t]he removal of a [child] from the
country of his or her habitual residence is “wrongful” under the Hague Convention if a person in that country is, or
would otherwise be exercising custody rights to the [child] under that country’s laws at the moment of removal.”
Friedrich, 78 F.3d at 1064; see Prevot v. Prevot, 549 F.3d 556 (6th Circ. 1995); Convention, art. 3.
6
  Wrongful retention” occurs when it is in breach of rights of custody attributed to a person under the law of the
country in which the child was habitually resident immediately before the retention; and at the time of retention
these rights were actually exercised, or would have been so exercised, but for the wrongful retention. Convention,
art. 3; Feder v. Feder-Evans. 63 F.3d 217, 225 (3rd Cir. 1995); Wanninger v. Wanniger, 850 F. Supp. 78, 80-87 (D.
Mass. 1994).
7
  The child’s full name and date of birth are intentionally omitted pursuant to the privacy provisions set forth in Fed.
Rule Civ. Pro. 5.2 (a).
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country of Mexico to the United States of America in violation of Petitioner’s custody rights

which she was validly exercising at the time of the wrongful removal.

                                                II. Jurisdiction

        6.       This Court has jurisdiction pursuant to 22 U.S.C. § 9001 (1995)8 and because this

case involves the removal and retention of a child under the age of sixteen form their habitual

residence of Mexico to the United States of America.9

                                                   III. Venue

        7.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391 (b) because, upon

information and belief, the child and Respondent are residing in Harris County.

                                    IV. Status of Petitioner and Child

        8.       Petitioner, Jennifer Jaramillo Gallaga, (hereinafter “Jaramillo Gallaga”) and the

Respondent, Jose Roberto Zavala Ramirez, (hereinafter “Zavala Ramirez”) are the parents of the

child, B.M.Z., who is the subject of this suit.

                                                     V. Facts

        9.       Petitioner, Jaramillo Gallaga, and Respondent, Zavala Ramirez, are both citizens

of Mexico. Respondent is believed to be a citizen of the United States as well.

        10.      The parties were married on May 4, 2011. A copy of Petitioner and Respondent’s

marriage license is attached as Exhibit “C”.

        11.      B.M.Z. was born on ______, 2014, in Houston, Texas, and her birth was

registered in Mexico. B.M.Z. is a citizen of both countries. See a copy of the birth certificate for




8
  A court considering an ICARA petition has jurisdiction to decide the merits only of the wrongful removal claim,
not of any underlying custody dispute. The Hague Convention is intended to restore the pre-abduction status quo
and to deter parents from crossing borders in search of a more sympathetic court. Lops v. Lops, 140 F.3d 927, 936
(11th Cir. 1998) (citations omitted).
9
  Toren v. Toren, 191 F.3d 23 (1st Cir. 1999).
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B.M.Z., which is attached hereto as Exhibit “D”, and registration of birth in Mexico, which is

attached hereto as Exhibit “E”.

       12.     B.M.Z. is now four (4) years old.

       13.     From March 2014, when she was less than a month old, she has resided with her

mother, Petitioner, in Irapuato, Guanajuato, Mexico.

       14.     At all times, Petitioner, Jaramillo Gallaga, was the primary caretaker for B.M.Z.

       15.     On or about April 18, 2018, Respondent assaulted Petitioner in their residence in

Irapuato, Guanajuato, Mexico. Petitioner then made a police report. A copy of the report is

attached as Exhibit “F”. Petitioner then notified Respondent that she wanted to end their

marriage.

       16.     On information and belief, Petitioner believes that on or about April 24, 2018,

while Petitioner was at her internship, Respondent wrongfully removed the child from her

habitual residence in Mexico and took her to Houston, Texas. Petitioner immediately conveyed

her objections to Respondent via electronic message.

       17.     On or about April 25, 2018, Petitioner learned the child was in Houston, Texas

through Respondent’s aunt.

       18.     Respondent, Zavala Ramirez, removed the minor child from Mexico, her country

of habitual residence, to the United States, without the consent or acquiescence of Petitioner,

Jaramillo Gallaga.

       19.     Petitioner knows of no court order granting Respondent sole custody of the child.

       20.     Upon information and belief, Respondent resides with the child at 5613

Norments, Houston, Texas.




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           21.      Mexico is the child’s habitual residence. The child has resided exclusively in

Mexico since she was less than one month old. The child has attended school, received medical

care, and enjoyed the company of extended family and friends in Mexico. See Petitioner’s

affidavit in compliance with the UCCJEA, which is attached hereto as Exhibit “G”.

           22.      Petitioner, Jaramillo Gallaga, has requested the return of B.M.Z. to Mexico

pursuant to her Application for Return of the Child under the Hague Convention on the Civil

Aspects of International Child Abduction10 (“Return Application”), a copy of which is attached

hereto as Exhibit “H”.

                              VI. Wrongful Removal of Child by Respondent

           23.      A removal or retention of a child is wrongful under Article 3 of the Convention if:

(a) the removal or retention is in breach of custody rights attributed to a person, institution or

other body, either jointly or alone, under the law of the state in which the child was habitually

resident immediately before the removal or retention; and (b) at the time of the removal or

retention, those custody rights were actually exercised or would have been exercised but for the

removal or retention of the child. See Hague Convention, Arts. 3 and 5.

           24.      “Custody rights” under the Hague Convention are defined to include “rights

relating to the care of the person of the child and in particular, the right to determine the child’s

place of residence.” See Hague Convention, Art. 5(a).

           25.      The minor child, B.M.Z., was habitually residing in Mexico within the meaning

of Article 3 of the Convention immediately prior to her removal to the United States. The child

has resided in Mexico with Petitioner since she was less than one month old, until her wrongful

removal to the United States by Respondent, Zavala Ramirez, on or about April 24, 2018.



10
     This Application is admissible pursuant to Article 23 of the Convention and 22 U.S.C. §9005.
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         26.      Petitioner, Jaramillo Gallaga, has custody rights of B.M.Z., as the biological

mother and natural guardian of the minor child under the law of Mexico, the child’s habitual

residence. A copy of the relevant provisions of the Civil Code of the State of Guanajuato,

Mexico are attached as Exhibit “I” and incorporated by this reference.

         27.      At the time of the wrongful removal and wrongful retention of B.M.Z., Jaramillo

Gallaga had actual possession and control over the children and was actually exercising her

custodial rights and responsibilities toward the child. As such, Petitioner, Jaramillo Gallaga, was

exercising her custody rights within the meaning of Articles 3 and 5 of the Convention.11

         28.      Respondent, Zavala Ramirez’s, unilateral removal of B.M.Z. breached Petitioner,

Jaramillo Gallaga’s, custody rights under the applicable laws of the State of Guanajuato, Mexico

and thus, constitutes a wrongful removal within the meaning of Articles 3 and 5 of the

Convention.

         29.      Petitioner, Jaramillo Gallaga, did not grant Respondent, Zavala Ramirez,

permission to remove the child from her residence in Mexico. Prior to the removal, Jaramillo

Gallaga had repeatedly conveyed her objection to the potential removal of the child from

Mexico. Upon learning of her removal, Jaramillo Gallaga immediately renewed her objection to

the removal of B.M.Z. and conveyed the objection to Zavala Ramirez, but he refused to return

the child to her.

         30.      On or about April 25, 2018, Petitioner, Jaramillo Gallaga, learned that she could

seek the child’s return via the legal remedies available to her via the Hague Convention, and she

11
  The issue of “custody” must be addressed under the laws of the state in which the child was habitually resident at
the time of his or her wrongful removal. Pesin v. Rodriguez, 77 F.Supp. 2d 1277, 1284 (S.D. Fl. 1999); see also,
Saldivar v. Rodela, 894 F.Supp.2d 610, 621 (W.D. Tx. 2012); Whallon v. Lynn, 230 F.3d 450 (1st Cir. 2000);
Friedrich, 983 F.2d at 1402; Ohlander v. Larson, 114 F.3d 1531, 1541 (10th Cir. 1997) (stating that the Convention
was meant, in part, to lend priority to the custody determination hailing from the child’s state of habitual residence.
Pursuant to Article 14 of the Convention, this Court “may take notice directly of the law of . . . the State of habitual
residence of the child, without recourse to the specific procedures for the proof of that law . . . .” See also Fed. R.
Civ. P. 44.1.
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immediately prepared and submitted an Application for Return of the Child with the Mexican

Central Authority and United States Department of State’s Office of Children’s Issues.

          31.     This Petition is filed less than one year from Respondent’s wrongful removal of

the child from Mexico.

                                         VII. Provisional Remedies12

          32.     Petitioner, Jaramillo Gallaga, requests for the physical and emotional health and

safety of B.M.Z., that she be given immediate, increased, unsupervised access to the child, and

immediate, regular, and unfettered telephonic and/or computer/skype access to the child to

B.M.Z., pending further hearing in this Court.

          33.     Petitioner, Jaramillo Gallaga, requests an expedited hearing on the trial on the

merits.

                                            VIII. Notice of Hearing

          34.     Pursuant to 22 U.S.C. § 9003(c), Respondent, Zavala Ramirez, will be given

notice of any hearing in accordance with Texas Family Code Section 152.205, Section

152.309.13




12
   This Court “[i]n furtherance of the objectives of . . . the Convention . . . may take or cause to be taken measures
under Federal or State law, as appropriate, to protect the well-being of the children involved or to prevent the further
removal or concealment before the final disposition of the petition.” 42 U.S.C. 11604 (1995).
13
   The Convention itself does not specify any specific notice requirements. ICARA provides that notice be given in
accordance with the applicable law governing notice in interstate children custody proceedings. 42 U.S.C. §
11603(c). In the United States, the Parental Kidnapping Prevention Act (“PKPA”) and the Uniform Children
Custody Jurisdiction and Enforcement Act (“UCCJEA”) govern notice in interstate children custody proceedings.
Klam v. Klam, 797 F. Supp. 202, 205 (E.D.N.Y. 1992). The UCCJEA and Part (e) of the PKPA provide that
reasonable notice and opportunity to be heard must be given to all parties before a custody determination is made.
The UCCJEA further provides that notice shall be given in a manner reasonably calculated to give actual notice. In
Texas, the relevant statute is found in this State’s UCCJEA in Texas Family Code, Title 5, Chapter 152. The Notice
section provides, in pertinent part, that notice and an opportunity to be heard shall be given in a manner reasonably
calculated to give actual notice. Id..
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          IX. Attorneys’ Fees and Costs Including Transportation Expenses Pursuant to
                           Convention Article 26 and 22 U.S.C. § 9007

          35.    Petitioner, Jaramillo Gallaga, has incurred substantial expenses as a result of the

wrongful removal and wrongful retention of the child by Respondent, Zavala Ramirez.

Petitioner, Jaramillo Gallaga, will submit a copy of all expenditures as soon as practicable and

possible and will amend these costs, from time to time, according to proof and in light of further

expenditure required because of this wrongful removal and wrongful retention.

          36.    Petitioner, Jaramillo Gallaga, respectfully requests that this Court award all legal

costs and fees incurred to date as required by 22 U.S.C. § 9007, reserving jurisdiction over

further expenses.

                                         X. Relief Requested

          37.    WHEREFORE, Petitioner, Jaramillo Gallaga, respectfully requests the following

relief:

          a.     an immediate Order granting Petitioner, Jaramillo Gallaga, increased and

immediate unsupervised in person access to the child, and immediate, regular, and unfettered

telephonic and/or computer/skype access to the child, B.M.Z., pending further resolution of this

matter;

          b.     an Order granting Jaramillo Gallaga’s Petition for Return and directing a prompt

return of the child to her habitual residence of Mexico;

          c.     an Order awarding Jaramillo Gallaga or her authorized representative immediate

physical custody of the child for the purpose of returning the child to her country of habitual

residence of Mexico;

          d.     an Order directing Zavala Ramirez to pay all legal fees, costs, travel and other

costs and fees resulting from this wrongful removal of the child; and

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 e.    any such further relief as justice and its cause may require.


                                          Respectfully submitted,

                                          SOUTH TEXAS COLLEGE OF LAW HOUSTON
                                          RANDALL O. SORRELS LEGAL CLINICS

                                          By:/s/Kimberly Ashworth ______________
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                                              ATTORNEY FOR PETITIONER




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                             28. CONVENTION ON THE CIVIL ASPECTS OF
                                 INTERNATIONAL CHILD ABDUCTION1

                                        (Concluded 25 October 1980)


The States signatory to the present Convention,
Firmly convinced that the interests of children are of paramount importance in matters relating to their
custody,
Desiring to protect children internationally from the harmful effects of their wrongful removal or retention
and to establish procedures to ensure their prompt return to the State of their habitual residence, as well
as to secure protection for rights of access,
Have resolved to conclude a Convention to this effect, and have agreed upon the following provisions –


                                   CHAPTER I – SCOPE OF THE CONVENTION



                                                    Article 1

The objects of the present Convention are –
a)   to secure the prompt return of children wrongfully removed to or retained in any Contracting State;
     and
b)   to ensure that rights of custody and of access under the law of one Contracting State are
     effectively respected in the other Contracting States.


                                                    Article 2

Contracting States shall take all appropriate measures to secure within their territories the
implementation of the objects of the Convention. For this purpose they shall use the most expeditious
procedures available.


                                                    Article 3

The removal or the retention of a child is to be considered wrongful where –
a)    it is in breach of rights of custody attributed to a person, an institution or any other body, either
      jointly or alone, under the law of the State in which the child was habitually resident immediately
      before the removal or retention; and
b)    at the time of removal or retention those rights were actually exercised, either jointly or alone, or
      would have been so exercised but for the removal or retention.

The rights of custody mentioned in sub-paragraph a) above, may arise in particular by operation of law
or by reason of a judicial or administrative decision, or by reason of an agreement having legal effect
under the law of that State.




1
  This Convention, including related materials, is accessible on the website of the Hague Conference on Private
International Law (www.hcch.net), under “Conventions” or under the “Child Abduction Section”. For the full history
of the Convention, see Hague Conference on Private International Law, Actes et documents de la Quatorzième
session (1980), Tome III, Child abduction (ISBN 90 12 03616 X, 481 pp.).
                                                 EXHIBIT
                                                   A
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                                                    Article 4

The Convention shall apply to any child who was habitually resident in a Contracting State immediately
before any breach of custody or access rights. The Convention shall cease to apply when the child
attains the age of 16 years.


                                                    Article 5

For the purposes of this Convention –
a)    "rights of custody" shall include rights relating to the care of the person of the child and, in
      particular, the right to determine the child's place of residence;
b)    "rights of access" shall include the right to take a child for a limited period of time to a place other
      than the child's habitual residence.


                                      CHAPTER II – CENTRAL AUTHORITIES



                                                    Article 6

A Contracting State shall designate a Central Authority to discharge the duties which are imposed by
the Convention upon such authorities.
Federal States, States with more than one system of law or States having autonomous territorial
organisations shall be free to appoint more than one Central Authority and to specify the territorial extent
of their powers. Where a State has appointed more than one Central Authority, it shall designate the
Central Authority to which applications may be addressed for transmission to the appropriate Central
Authority within that State.


                                                    Article 7

Central Authorities shall co-operate with each other and promote co-operation amongst the competent
authorities in their respective States to secure the prompt return of children and to achieve the other
objects of this Convention.
In particular, either directly or through any intermediary, they shall take all appropriate measures –
a)     to discover the whereabouts of a child who has been wrongfully removed or retained;
b)     to prevent further harm to the child or prejudice to interested parties by taking or causing to be
       taken provisional measures;
c)     to secure the voluntary return of the child or to bring about an amicable resolution of the issues;
d)     to exchange, where desirable, information relating to the social background of the child;
e)     to provide information of a general character as to the law of their State in connection with the
       application of the Convention;
f)     to initiate or facilitate the institution of judicial or administrative proceedings with a view to obtaining
       the return of the child and, in a proper case, to make arrangements for organising or securing the
       effective exercise of rights of access;
g)     where the circumstances so require, to provide or facilitate the provision of legal aid and advice,
       including the participation of legal counsel and advisers;
h)     to provide such administrative arrangements as may be necessary and appropriate to secure the
       safe return of the child;
i)     to keep each other informed with respect to the operation of this Convention and, as far as
       possible, to eliminate any obstacles to its application.


                                      CHAPTER III – RETURN OF CHILDREN



                                                    Article 8

Any person, institution or other body claiming that a child has been removed or retained in breach of
custody rights may apply either to the Central Authority of the child's habitual residence or to the Central
Authority of any other Contracting State for assistance in securing the return of the child.
The application shall contain –
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a)   information concerning the identity of the applicant, of the child and of the person alleged to have
     removed or retained the child;
b)   where available, the date of birth of the child;
c)   the grounds on which the applicant's claim for return of the child is based;
d)   all available information relating to the whereabouts of the child and the identity of the person with
     whom the child is presumed to be.
The application may be accompanied or supplemented by –
e)   an authenticated copy of any relevant decision or agreement;
f)   a certificate or an affidavit emanating from a Central Authority, or other competent authority of the
     State of the child's habitual residence, or from a qualified person, concerning the relevant law of
     that State;
g)   any other relevant document.


                                                  Article 9

If the Central Authority which receives an application referred to in Article 8 has reason to believe that
the child is in another Contracting State, it shall directly and without delay transmit the application to the
Central Authority of that Contracting State and inform the requesting Central Authority, or the applicant,
as the case may be.


                                                 Article 10

The Central Authority of the State where the child is shall take or cause to be taken all appropriate
measures in order to obtain the voluntary return of the child.


                                                 Article 11

The judicial or administrative authorities of Contracting States shall act expeditiously in proceedings for
the return of children.
If the judicial or administrative authority concerned has not reached a decision within six weeks from the
date of commencement of the proceedings, the applicant or the Central Authority of the requested State,
on its own initiative or if asked by the Central Authority of the requesting State, shall have the right to
request a statement of the reasons for the delay. If a reply is received by the Central Authority of the
requested State, that Authority shall transmit the reply to the Central Authority of the requesting State,
or to the applicant, as the case may be.


                                                 Article 12

Where a child has been wrongfully removed or retained in terms of Article 3 and, at the date of the
commencement of the proceedings before the judicial or administrative authority of the Contracting State
where the child is, a period of less than one year has elapsed from the date of the wrongful removal or
retention, the authority concerned shall order the return of the child forthwith.
The judicial or administrative authority, even where the proceedings have been commenced after the
expiration of the period of one year referred to in the preceding paragraph, shall also order the return of
the child, unless it is demonstrated that the child is now settled in its new environment.
Where the judicial or administrative authority in the requested State has reason to believe that the child
has been taken to another State, it may stay the proceedings or dismiss the application for the return of
the child.


                                                 Article 13

Notwithstanding the provisions of the preceding Article, the judicial or administrative authority of the
requested State is not bound to order the return of the child if the person, institution or other body which
opposes its return establishes that –
a)    the person, institution or other body having the care of the person of the child was not actually
      exercising the custody rights at the time of removal or retention, or had consented to or
      subsequently acquiesced in the removal or retention; or
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b)    there is a grave risk that his or her return would expose the child to physical or psychological harm
      or otherwise place the child in an intolerable situation.

The judicial or administrative authority may also refuse to order the return of the child if it finds that the
child objects to being returned and has attained an age and degree of maturity at which it is appropriate
to take account of its views.
In considering the circumstances referred to in this Article, the judicial and administrative authorities shall
take into account the information relating to the social background of the child provided by the Central
Authority or other competent authority of the child's habitual residence.


                                                  Article 14

In ascertaining whether there has been a wrongful removal or retention within the meaning of Article 3,
the judicial or administrative authorities of the requested State may take notice directly of the law of, and
of judicial or administrative decisions, formally recognised or not in the State of the habitual residence of
the child, without recourse to the specific procedures for the proof of that law or for the recognition of
foreign decisions which would otherwise be applicable.


                                                  Article 15

The judicial or administrative authorities of a Contracting State may, prior to the making of an order for
the return of the child, request that the applicant obtain from the authorities of the State of the habitual
residence of the child a decision or other determination that the removal or retention was wrongful within
the meaning of Article 3 of the Convention, where such a decision or determination may be obtained in
that State. The Central Authorities of the Contracting States shall so far as practicable assist applicants
to obtain such a decision or determination.


                                                  Article 16

After receiving notice of a wrongful removal or retention of a child in the sense of Article 3, the judicial or
administrative authorities of the Contracting State to which the child has been removed or in which it has
been retained shall not decide on the merits of rights of custody until it has been determined that the
child is not to be returned under this Convention or unless an application under this Convention is not
lodged within a reasonable time following receipt of the notice.


                                                  Article 17

The sole fact that a decision relating to custody has been given in or is entitled to recognition in the
requested State shall not be a ground for refusing to return a child under this Convention, but the judicial
or administrative authorities of the requested State may take account of the reasons for that decision in
applying this Convention.


                                                  Article 18

The provisions of this Chapter do not limit the power of a judicial or administrative authority to order the
return of the child at any time.


                                                  Article 19

A decision under this Convention concerning the return of the child shall not be taken to be a
determination on the merits of any custody issue.
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                                                 Article 20

The return of the child under the provisions of Article 12 may be refused if this would not be permitted
by the fundamental principles of the requested State relating to the protection of human rights and
fundamental freedoms.


                                      CHAPTER IV – RIGHTS OF ACCESS



                                                 Article 21

An application to make arrangements for organising or securing the effective exercise of rights of access
may be presented to the Central Authorities of the Contracting States in the same way as an application
for the return of a child.
The Central Authorities are bound by the obligations of co-operation which are set forth in Article 7 to
promote the peaceful enjoyment of access rights and the fulfilment of any conditions to which the
exercise of those rights may be subject. The Central Authorities shall take steps to remove, as far as
possible, all obstacles to the exercise of such rights.
The Central Authorities, either directly or through intermediaries, may initiate or assist in the institution
of proceedings with a view to organising or protecting these rights and securing respect for the conditions
to which the exercise of these rights may be subject.


                                     CHAPTER V – GENERAL PROVISIONS



                                                 Article 22

No security, bond or deposit, however described, shall be required to guarantee the payment of costs
and expenses in the judicial or administrative proceedings falling within the scope of this Convention.


                                                 Article 23

No legalisation or similar formality may be required in the context of this Convention.


                                                 Article 24

Any application, communication or other document sent to the Central Authority of the requested State
shall be in the original language, and shall be accompanied by a translation into the official language or
one of the official languages of the requested State or, where that is not feasible, a translation into French
or English.
However, a Contracting State may, by making a reservation in accordance with Article 42, object to the
use of either French or English, but not both, in any application, communication or other document sent
to its Central Authority.


                                                 Article 25

Nationals of the Contracting States and persons who are habitually resident within those States shall be
entitled in matters concerned with the application of this Convention to legal aid and advice in any other
Contracting State on the same conditions as if they themselves were nationals of and habitually resident
in that State.
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                                                 Article 26

Each Central Authority shall bear its own costs in applying this Convention.
Central Authorities and other public services of Contracting States shall not impose any charges in
relation to applications submitted under this Convention. In particular, they may not require any payment
from the applicant towards the costs and expenses of the proceedings or, where applicable, those arising
from the participation of legal counsel or advisers. However, they may require the payment of the
expenses incurred or to be incurred in implementing the return of the child.
However, a Contracting State may, by making a reservation in accordance with Article 42, declare that
it shall not be bound to assume any costs referred to in the preceding paragraph resulting from the
participation of legal counsel or advisers or from court proceedings, except insofar as those costs may
be covered by its system of legal aid and advice.
Upon ordering the return of a child or issuing an order concerning rights of access under this Convention,
the judicial or administrative authorities may, where appropriate, direct the person who removed or
retained the child, or who prevented the exercise of rights of access, to pay necessary expenses incurred
by or on behalf of the applicant, including travel expenses, any costs incurred or payments made for
locating the child, the costs of legal representation of the applicant, and those of returning the child.


                                                 Article 27

When it is manifest that the requirements of this Convention are not fulfilled or that the application is
otherwise not well founded, a Central Authority is not bound to accept the application. In that case, the
Central Authority shall forthwith inform the applicant or the Central Authority through which the
application was submitted, as the case may be, of its reasons.


                                                 Article 28

A Central Authority may require that the application be accompanied by a written authorisation
empowering it to act on behalf of the applicant, or to designate a representative so to act.


                                                 Article 29

This Convention shall not preclude any person, institution or body who claims that there has been a
breach of custody or access rights within the meaning of Article 3 or 21 from applying directly to the
judicial or administrative authorities of a Contracting State, whether or not under the provisions of this
Convention.


                                                 Article 30

Any application submitted to the Central Authorities or directly to the judicial or administrative authorities
of a Contracting State in accordance with the terms of this Convention, together with documents and
any other information appended thereto or provided by a Central Authority, shall be admissible in the
courts or administrative authorities of the Contracting States.


                                                 Article 31

In relation to a State which in matters of custody of children has two or more systems of law applicable
in different territorial units –
a)      any reference to habitual residence in that State shall be construed as referring to habitual
residence in a territorial unit of that State;
b)      any reference to the law of the State of habitual residence shall be construed as referring to the
law of the territorial unit in that State where the child habitually resides.
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                                                   Article 32

In relation to a State which in matters of custody of children has two or more systems of law applicable
to different categories of persons, any reference to the law of that State shall be construed as referring
to the legal system specified by the law of that State.


                                                   Article 33

A State within which different territorial units have their own rules of law in respect of custody of children
shall not be bound to apply this Convention where a State with a unified system of law would not be
bound to do so.


                                                   Article 34

This Convention shall take priority in matters within its scope over the Convention of 5 October 1961
concerning the powers of authorities and the law applicable in respect of the protection of minors, as
between Parties to both Conventions. Otherwise the present Convention shall not restrict the application
of an international instrument in force between the State of origin and the State addressed or other law
of the State addressed for the purposes of obtaining the return of a child who has been wrongfully
removed or retained or of organising access rights.


                                                   Article 35

This Convention shall apply as between Contracting States only to wrongful removals or retentions
occurring after its entry into force in those States.
Where a declaration has been made under Article 39 or 40, the reference in the preceding paragraph to
a Contracting State shall be taken to refer to the territorial unit or units in relation to which this Convention
applies.


                                                   Article 36

Nothing in this Convention shall prevent two or more Contracting States, in order to limit the restrictions
to which the return of the child may be subject, from agreeing among themselves to derogate from any
provisions of this Convention which may imply such a restriction.


                                         CHAPTER VI – FINAL CLAUSES



                                                   Article 37

The Convention shall be open for signature by the States which were Members of the Hague Conference
on Private International Law at the time of its Fourteenth Session.
It shall be ratified, accepted or approved and the instruments of ratification, acceptance or approval shall
be deposited with the Ministry of Foreign Affairs of the Kingdom of the Netherlands.


                                                   Article 38

Any other State may accede to the Convention.
The instrument of accession shall be deposited with the Ministry of Foreign Affairs of the Kingdom of the
Netherlands.
The Convention shall enter into force for a State acceding to it on the first day of the third calendar month
after the deposit of its instrument of accession.
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The accession will have effect only as regards the relations between the acceding State and such
Contracting States as will have declared their acceptance of the accession. Such a declaration will also
have to be made by any Member State ratifying, accepting or approving the Convention after an
accession. Such declaration shall be deposited at the Ministry of Foreign Affairs of the Kingdom of the
Netherlands; this Ministry shall forward, through diplomatic channels, a certified copy to each of the
Contracting States.
The Convention will enter into force as between the acceding State and the State that has declared its
acceptance of the accession on the first day of the third calendar month after the deposit of the
declaration of acceptance.


                                                  Article 39

Any State may, at the time of signature, ratification, acceptance, approval or accession, declare that the
Convention shall extend to all the territories for the international relations of which it is responsible, or to
one or more of them. Such a declaration shall take effect at the time the Convention enters into force for
that State.
Such declaration, as well as any subsequent extension, shall be notified to the Ministry of Foreign Affairs
of the Kingdom of the Netherlands.


                                                  Article 40

If a Contracting State has two or more territorial units in which different systems of law are applicable in
relation to matters dealt with in this Convention, it may at the time of signature, ratification, acceptance,
approval or accession declare that this Convention shall extend to all its territorial units or only to one or
more of them and may modify this declaration by submitting another declaration at any time.
Any such declaration shall be notified to the Ministry of Foreign Affairs of the Kingdom of the Netherlands
and shall state expressly the territorial units to which the Convention applies.


                                                  Article 41

Where a Contracting State has a system of government under which executive, judicial and legislative
powers are distributed between central and other authorities within that State, its signature or ratification,
acceptance or approval of, or accession to this Convention, or its making of any declaration in terms of
Article 40 shall carry no implication as to the internal distribution of powers within that State.


                                                  Article 42

Any State may, not later than the time of ratification, acceptance, approval or accession, or at the time
of making a declaration in terms of Article 39 or 40, make one or both of the reservations provided for in
Article 24 and Article 26, third paragraph. No other reservation shall be permitted.
Any State may at any time withdraw a reservation it has made. The withdrawal shall be notified to the
Ministry of Foreign Affairs of the Kingdom of the Netherlands.
The reservation shall cease to have effect on the first day of the third calendar month after the notification
referred to in the preceding paragraph.


                                                  Article 43

The Convention shall enter into force on the first day of the third calendar month after the deposit of the
third instrument of ratification, acceptance, approval or accession referred to in Articles 37 and 38.
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Thereafter the Convention shall enter into force –
(1)  for each State ratifying, accepting, approving or acceding to it subsequently, on the first day of the
     third calendar month after the deposit of its instrument of ratification, acceptance, approval or
     accession;
(2)  for any territory or territorial unit to which the Convention has been extended in conformity with
     Article 39 or 40, on the first day of the third calendar month after the notification referred to in that
     Article.


                                                  Article 44

The Convention shall remain in force for five years from the date of its entry into force in accordance
with the first paragraph of Article 43 even for States which subsequently have ratified, accepted,
approved it or acceded to it.
If there has been no denunciation, it shall be renewed tacitly every five years.
Any denunciation shall be notified to the Ministry of Foreign Affairs of the Kingdom of the Netherlands at
least six months before the expiry of the five year period. It may be limited to certain of the territories or
territorial units to which the Convention applies.
The denunciation shall have effect only as regards the State which has notified it. The Convention shall
remain in force for the other Contracting States.


                                                  Article 45

The Ministry of Foreign Affairs of the Kingdom of the Netherlands shall notify the States Members of the
Conference, and the States which have acceded in accordance with Article 38, of the following –
(1)  the signatures and ratifications, acceptances and approvals referred to in Article 37;
(2)  the accessions referred to in Article 38;
(3)  the date on which the Convention enters into force in accordance with Article 43;
(4)  the extensions referred to in Article 39;
(5)  the declarations referred to in Articles 38 and 40;
(6)  the reservations referred to in Article 24 and Article 26, third paragraph, and the withdrawals
      referred to in Article 42;
(7)  the denunciations referred to in Article 44.


In witness whereof the undersigned, being duly authorised thereto, have signed this Convention.

Done at The Hague, on the 25th day of October, 1980, in the English and French languages, both texts
being equally authentic, in a single copy which shall be deposited in the archives of the Government of
the Kingdom of the Netherlands, and of which a certified copy shall be sent, through diplomatic channels,
to each of the States Members of the Hague Conference on Private International Law at the date of its
Fourteenth Session.
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           22 USC Ch. 97: INTERNATIONAL CHILD ABDUCTION REMEDIES
           From Title 22—FOREIGN RELATIONS AND INTERCOURSE




                                            CHAPTER 97—INTERNATIONAL CHILD ABDUCTION REMEDIES
         Sec.
         9001.           Findings and declarations.
         9002.           Definitions.
         9003.           Judicial remedies.
         9004.           Provisional remedies.
         9005.           Admissibility of documents.
         9006.           United States Central Authority.
         9007.           Costs and fees.
         9008.           Collection, maintenance, and dissemination of information.
         9009.           Office of Children's Issues.
         9010.           Interagency coordinating group.
         9011.           Authorization of appropriations.


         §9001. Findings and declarations
         (a) Findings
           The Congress makes the following findings:
              (1) The international abduction or wrongful retention of children is harmful to their well-being.
              (2) Persons should not be permitted to obtain custody of children by virtue of their wrongful removal or retention.
              (3) International abductions and retentions of children are increasing, and only concerted cooperation pursuant to an international agreement
           can effectively combat this problem.
              (4) The Convention on the Civil Aspects of International Child Abduction, done at The Hague on October 25, 1980, establishes legal rights
           and procedures for the prompt return of children who have been wrongfully removed or retained, as well as for securing the exercise of visitation
           rights. Children who are wrongfully removed or retained within the meaning of the Convention are to be promptly returned unless one of the
           narrow exceptions set forth in the Convention applies. The Convention provides a sound treaty framework to help resolve the problem of
           international abduction and retention of children and will deter such wrongful removals and retentions.
         (b) Declarations
           The Congress makes the following declarations:
              (1) It is the purpose of this chapter to establish procedures for the implementation of the Convention in the United States.
              (2) The provisions of this chapter are in addition to and not in lieu of the provisions of the Convention.
              (3) In enacting this chapter the Congress recognizes—
                (A) the international character of the Convention; and
                (B) the need for uniform international interpretation of the Convention.

             (4) The Convention and this chapter empower courts in the United States to determine only rights under the Convention and not the merits of
           any underlying child custody claims.
         (Pub. L. 100–300, §2, Apr. 29, 1988, 102 Stat. 437.)

                                                                      REFERENCES IN TEXT
            This chapter, referred to in subsec. (b), was in the original "this Act" meaning Pub. L. 100–300, Apr. 29, 1988, 102 Stat. 437, which
         is classified principally to this chapter. For complete classification of this Act to the Code, see Short Title note below and Tables.

                                                                           CODIFICATION
           Section was formerly classified to section 11601 of Title 42, The Public Health and Welfare.

                                                             SHORT TITLE OF 2004 AMENDMENT
           Pub. L. 108–370, §1, Oct. 25, 2004, 118 Stat. 1750, provided that: "This Act [amending section 9006 of this title] may be cited as the
         'Prevention of Child Abduction Partnership Act'."

                                                                           SHORT TITLE
           Pub. L. 100–300, §1, Apr. 29, 1988, 102 Stat. 437, provided that: "This Act [enacting this chapter and amending section 663 of Title
         42, The Public Health and Welfare] may be cited as the 'International Child Abduction Remedies Act'."



         §9002. Definitions
           For the purposes of this chapter—
             (1) the term "applicant" means any person who, pursuant to the Convention, files an application with the United States Central Authority or a
           Central Authority of any other party to the Convention for the return of a child alleged to have been wrongfully removed or retained or for
           arrangements for organizing or securing the effective exercise of rights of access pursuant to the Convention;
             (2) the term "Convention" means the Convention on the Civil Aspects of International Child Abduction, done at The Hague on October 25,
           1980;
             (3) the term "Parent Locator Service" means the service established by the Secretary of Health and Human Services under section 653 of title
           42;
             (4) the term "petitioner" means any person who, in accordance with this chapter, files a petition in court seeking relief under the Convention;

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             (5) the term "person" includes any individual, institution, or other legal entity or body;
             (6) the term "respondent" means any person against whose interests a petition is filed in court, in accordance with this chapter, which seeks
           relief under the Convention;
             (7) the term "rights of access" means visitation rights;
             (8) the term "State" means any of the several States, the District of Columbia, and any commonwealth, territory, or possession of the United
           States; and
             (9) the term "United States Central Authority" means the agency of the Federal Government designated by the President under section
           9006(a) of this title.
         (Pub. L. 100–300, §3, Apr. 29, 1988, 102 Stat. 437.)

                                                                       REFERENCES IN TEXT
            This chapter, referred to in text, was in the original "this Act" meaning Pub. L. 100–300, Apr. 29, 1988, 102 Stat. 437, which is
         classified principally to this chapter. For complete classification of this Act to the Code, see Short Title note under section 9001 of
         this title and Tables.

                                                                            CODIFICATION
           Section was formerly classified to section 11602 of Title 42, The Public Health and Welfare.


         §9003. Judicial remedies
         (a) Jurisdiction of courts
           The courts of the States and the United States district courts shall have concurrent original jurisdiction of actions arising under the Convention.
         (b) Petitions
           Any person seeking to initiate judicial proceedings under the Convention for the return of a child or for arrangements for organizing or securing
         the effective exercise of rights of access to a child may do so by commencing a civil action by filing a petition for the relief sought in any court
         which has jurisdiction of such action and which is authorized to exercise its jurisdiction in the place where the child is located at the time the
         petition is filed.
         (c) Notice
           Notice of an action brought under subsection (b) shall be given in accordance with the applicable law governing notice in interstate child custody
         proceedings.
         (d) Determination of case
           The court in which an action is brought under subsection (b) shall decide the case in accordance with the Convention.
         (e) Burdens of proof
           (1) A petitioner in an action brought under subsection (b) shall establish by a preponderance of the evidence—
              (A) in the case of an action for the return of a child, that the child has been wrongfully removed or retained within the meaning of the
           Convention; and
              (B) in the case of an action for arrangements for organizing or securing the effective exercise of rights of access, that the petitioner has such
           rights.

           (2) In the case of an action for the return of a child, a respondent who opposes the return of the child has the burden of establishing—
             (A) by clear and convincing evidence that one of the exceptions set forth in article 13b or 20 of the Convention applies; and
             (B) by a preponderance of the evidence that any other exception set forth in article 12 or 13 of the Convention applies.
         (f) Application of Convention
            For purposes of any action brought under this chapter—
               (1) the term "authorities", as used in article 15 of the Convention to refer to the authorities of the state of the habitual residence of a child,
            includes courts and appropriate government agencies;
               (2) the terms "wrongful removal or retention" and "wrongfully removed or retained", as used in the Convention, include a removal or retention
            of a child before the entry of a custody order regarding that child; and
               (3) the term "commencement of proceedings", as used in article 12 of the Convention, means, with respect to the return of a child located in
            the United States, the filing of a petition in accordance with subsection (b) of this section.
         (g) Full faith and credit
           Full faith and credit shall be accorded by the courts of the States and the courts of the United States to the judgment of any other such court
         ordering or denying the return of a child, pursuant to the Convention, in an action brought under this chapter.
         (h) Remedies under Convention not exclusive
           The remedies established by the Convention and this chapter shall be in addition to remedies available under other laws or international
         agreements.
         (Pub. L. 100–300, §4, Apr. 29, 1988, 102 Stat. 438.)

                                                                       REFERENCES IN TEXT
           This chapter, referred to in subsecs. (f) to (h), was in the original "this Act" meaning Pub. L. 100–300, Apr. 29, 1988, 102 Stat. 437,
         which is classified principally to this chapter. For complete classification of this Act to the Code, see Short Title note under section
         9001 of this title and Tables.

                                                                            CODIFICATION
           Section was formerly classified to section 11603 of Title 42, The Public Health and Welfare.


         §9004. Provisional remedies



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         (a) Authority of courts
           In furtherance of the objectives of article 7(b) and other provisions of the Convention, and subject to the provisions of subsection (b) of this
         section, any court exercising jurisdiction of an action brought under section 9003(b) of this title may take or cause to be taken measures under
         Federal or State law, as appropriate, to protect the well-being of the child involved or to prevent the child's further removal or concealment before
         the final disposition of the petition.
         (b) Limitation on authority
           No court exercising jurisdiction of an action brought under section 9003(b) of this title may, under subsection (a) of this section, order a child
         removed from a person having physical control of the child unless the applicable requirements of State law are satisfied.
         (Pub. L. 100–300, §5, Apr. 29, 1988, 102 Stat. 439.)

                                                                             CODIFICATION
           Section was formerly classified to section 11604 of Title 42, The Public Health and Welfare.


         §9005. Admissibility of documents
            With respect to any application to the United States Central Authority, or any petition to a court under section 9003 of this title, which seeks relief
         under the Convention, or any other documents or information included with such application or petition or provided after such submission which
         relates to the application or petition, as the case may be, no authentication of such application, petition, document, or information shall be required
         in order for the application, petition, document, or information to be admissible in court.
         (Pub. L. 100–300, §6, Apr. 29, 1988, 102 Stat. 439.)

                                                                             CODIFICATION
           Section was formerly classified to section 11605 of Title 42, The Public Health and Welfare.


         §9006. United States Central Authority
         (a) Designation
           The President shall designate a Federal agency to serve as the Central Authority for the United States under the Convention.
         (b) Functions
           The functions of the United States Central Authority are those ascribed to the Central Authority by the Convention and this chapter.
         (c) Regulatory authority
           The United States Central Authority is authorized to issue such regulations as may be necessary to carry out its functions under the Convention
         and this chapter.
         (d) Obtaining information from Parent Locator Service
           The United States Central Authority may, to the extent authorized by the Social Security Act [42 U.S.C. 301 et seq.], obtain information from the
         Parent Locator Service.
         (e) Grant authority
           The United States Central Authority is authorized to make grants to, or enter into contracts or agreements with, any individual, corporation, other
         Federal, State, or local agency, or private entity or organization in the United States for purposes of accomplishing its responsibilities under the
         Convention and this chapter.
         (f) Limited liability of private entities acting under the direction of the United States Central Authority
           (1) Limitation on liability
             Except as provided in paragraphs (2) and (3), a private entity or organization that receives a grant from or enters into a contract or agreement
           with the United States Central Authority under subsection (e) of this section for purposes of assisting the United States Central Authority in
           carrying out its responsibilities and functions under the Convention and this chapter, including any director, officer, employee, or agent of such
           entity or organization, shall not be liable in any civil action sounding in tort for damages directly related to the performance of such
           responsibilities and functions as defined by the regulations issued under subsection (c) of this section that are in effect on October 1, 2004.
           (2) Exception for intentional, reckless, or other misconduct
              The limitation on liability under paragraph (1) shall not apply in any action in which the plaintiff proves that the private entity, organization,
           officer, employee, or agent described in paragraph (1), as the case may be, engaged in intentional misconduct or acted, or failed to act, with
           actual malice, with reckless disregard to a substantial risk of causing injury without legal justification, or for a purpose unrelated to the
           performance of responsibilities or functions under this chapter.
           (3) Exception for ordinary business activities
             The limitation on liability under paragraph (1) shall not apply to any alleged act or omission related to an ordinary business activity, such as an
           activity involving general administration or operations, the use of motor vehicles, or personnel management.
         (Pub. L. 100–300, §7, Apr. 29, 1988, 102 Stat. 439; Pub. L. 105–277, div. G, title XXII, §2213, Oct. 21, 1998, 112 Stat. 2681–812; Pub. L.
         108–370, §2, Oct. 25, 2004, 118 Stat. 1750.)

                                                                        REFERENCES IN TEXT
            This chapter, referred to in subsecs. (b), (c), (e), and (f), was in the original "this Act" meaning Pub. L. 100–300, Apr. 29, 1988, 102
         Stat. 437, as amended, which is classified principally to this chapter. For complete classification of this Act to the Code, see Short
         Title note set out under section 9001 of this title and Tables.
            The Social Security Act, referred to in subsec. (d), is act Aug. 14, 1935, ch. 531, 49 Stat. 620, as amended, which is classified
         generally to chapter 7 (§301 et seq.) of Title 42, The Public Health and Welfare. For complete classification of this Act to the Code,
         see section 1305 of Title 42 and Tables.

                                                                             CODIFICATION



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           Section was formerly classified to section 11606 of Title 42, The Public Health and Welfare.

                                                                            AMENDMENTS
           2004—Subsec. (f). Pub. L. 108–370 added subsec. (f).
           1998—Subsec. (e). Pub. L. 105–277 added subsec. (e).

         EX. ORD. NO. 12648. IMPLEMENTATION OF CONVENTION ON CIVIL ASPECTS OF INTERNATIONAL CHILD ABDUCTION
            Ex. Ord. No. 12648, Aug. 11, 1988, 53 F.R. 30637, provided:
            The United States of America deposited its instrument of ratification of the Hague Convention on the Civil Aspects of
         International Child Abduction ("Convention") on April 29, 1988. The Convention entered into force for the United States on July 1,
         1988. Article 6 of the Convention imposes upon Contracting States an obligation to designate a "Central Authority" for the purpose
         of discharging certain specified functions.
            In order that the Government of the United States of America may give full and complete effect to the Convention, and pursuant
         to section 7 of the International Child Abduction Remedies Act, Public Law No. 100–300 (1988) [22 U.S.C. 9006], it is expedient and
         necessary that I designate a Central Authority within the Executive branch of said Government:
            NOW, THEREFORE, by virtue of the authority vested in me as President by the Constitution and the laws of the United States,
         including section 301 of Title 3 of the United States Code and section 7 of the International Child Abduction Remedies Act, it is ordered
         as follows:
            SECTION 1. Designation of Central Authority. The Department of State is hereby designated as the Central Authority of the United
         States for purposes of the Hague Convention on the Civil Aspects of International Child Abduction. The Secretary of State is
         hereby authorized and empowered, in accordance with such regulations as he may prescribe, to perform all lawful acts that may
         be necessary and proper in order to execute the functions of the Central Authority in a timely and efficient manner.
                                                                                                                                           RONALD REAGAN.



         §9007. Costs and fees
         (a) Administrative costs
            No department, agency, or instrumentality of the Federal Government or of any State or local government may impose on an applicant any fee
         in relation to the administrative processing of applications submitted under the Convention.
         (b) Costs incurred in civil actions
            (1) Petitioners may be required to bear the costs of legal counsel or advisors, court costs incurred in connection with their petitions, and travel
         costs for the return of the child involved and any accompanying persons, except as provided in paragraphs (2) and (3).
            (2) Subject to paragraph (3), legal fees or court costs incurred in connection with an action brought under section 9003 of this title shall be borne
         by the petitioner unless they are covered by payments from Federal, State, or local legal assistance or other programs.
            (3) Any court ordering the return of a child pursuant to an action brought under section 9003 of this title shall order the respondent to pay
         necessary expenses incurred by or on behalf of the petitioner, including court costs, legal fees, foster home or other care during the course of
         proceedings in the action, and transportation costs related to the return of the child, unless the respondent establishes that such order would be
         clearly inappropriate.
         (Pub. L. 100–300, §8, Apr. 29, 1988, 102 Stat. 440.)

                                                                            CODIFICATION
           Section was formerly classified to section 11607 of Title 42, The Public Health and Welfare.


         §9008. Collection, maintenance, and dissemination of information
         (a) In general
            In performing its functions under the Convention, the United States Central Authority may, under such conditions as the Central Authority
         prescribes by regulation, but subject to subsection (c), receive from or transmit to any department, agency, or instrumentality of the Federal
         Government or of any State or foreign government, and receive from or transmit to any applicant, petitioner, or respondent, information necessary
         to locate a child or for the purpose of otherwise implementing the Convention with respect to a child, except that the United States Central
         Authority—
               (1) may receive such information from a Federal or State department, agency, or instrumentality only pursuant to applicable Federal and State
            statutes; and
               (2) may transmit any information received under this subsection notwithstanding any provision of law other than this chapter.
         (b) Requests for information
           Requests for information under this section shall be submitted in such manner and form as the United States Central Authority may prescribe by
         regulation and shall be accompanied or supported by such documents as the United States Central Authority may require.
         (c) Responsibility of government entities
           Whenever any department, agency, or instrumentality of the United States or of any State receives a request from the United States Central
         Authority for information authorized to be provided to such Central Authority under subsection (a), the head of such department, agency, or
         instrumentality shall promptly cause a search to be made of the files and records maintained by such department, agency, or instrumentality in
         order to determine whether the information requested is contained in any such files or records. If such search discloses the information requested,
         the head of such department, agency, or instrumentality shall immediately transmit such information to the United States Central Authority, except
         that any such information the disclosure of which—
              (1) would adversely affect the national security interests of the United States or the law enforcement interests of the United States or of any
           State; or
              (2) would be prohibited by section 9 of title 13;

           shall not be transmitted to the Central Authority. The head of such department, agency, or instrumentality shall, immediately upon completion of
         the requested search, notify the Central Authority of the results of the search, and whether an exception set forth in paragraph (1) or (2) applies. In



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         the event that the United States Central Authority receives information and the appropriate Federal or State department, agency, or instrumentality
         thereafter notifies the Central Authority that an exception set forth in paragraph (1) or (2) applies to that information, the Central Authority may not
         disclose that information under subsection (a).
         (d) Information available from Parent Locator Service
           To the extent that information which the United States Central Authority is authorized to obtain under the provisions of subsection (c) can be
         obtained through the Parent Locator Service, the United States Central Authority shall first seek to obtain such information from the Parent Locator
         Service, before requesting such information directly under the provisions of subsection (c) of this section.
         (e) Recordkeeping
            The United States Central Authority shall maintain appropriate records concerning its activities and the disposition of cases brought to its
         attention.
         (Pub. L. 100–300, §9, Apr. 29, 1988, 102 Stat. 440.)

                                                                        REFERENCES IN TEXT
           This chapter, referred to in subsec. (a)(2), was in the original "this Act" meaning Pub. L. 100–300, Apr. 29, 1988, 102 Stat. 437,
         which is classified principally to this chapter. For complete classification of this Act to the Code, see Short Title note under section
         9001 of this title and Tables.

                                                                             CODIFICATION
           Section was formerly classified to section 11608 of Title 42, The Public Health and Welfare.


         §9009. Office of Children's Issues
         (a) Director requirements
            The Secretary of State shall fill the position of Director of the Office of Children's Issues of the Department of State (in this section referred to as
         the "Office") with an individual of senior rank who can ensure long-term continuity in the management and policy matters of the Office and has a
         strong background in consular affairs.
         (b) Case officer staffing
            Effective April 1, 2000, there shall be assigned to the Office of Children's Issues of the Department of State a sufficient number of case officers
         to ensure that the average caseload for each officer does not exceed 75.
         (c) Embassy contact
           The Secretary of State shall designate in each United States diplomatic mission an employee who shall serve as the point of contact for matters
         relating to international abductions of children by parents. The Director of the Office shall regularly inform the designated employee of children of
         United States citizens abducted by parents to that country.
         (d) Reports to parents
           (1) In general
              Except as provided in paragraph (2), beginning 6 months after November 29, 1999, and at least once every 6 months thereafter, the Secretary
           of State shall report to each parent who has requested assistance regarding an abducted child overseas. Each such report shall include
           information on the current status of the abducted child's case and the efforts by the Department of State to resolve the case.
           (2) Exception
             The requirement in paragraph (1) shall not apply in a case of an abducted child if—
                (A) the case has been closed and the Secretary of State has reported the reason the case was closed to the parent who requested
             assistance; or
                (B) the parent seeking assistance requests that such reports not be provided.
         (Pub. L. 106–113, div. B, §1000(a)(7) [div. A, title II, §201], Nov. 29, 1999, 113 Stat. 1536, 1501A-419).

                                                                             CODIFICATION
           Section was enacted as part of the Admiral James W. Nance and Meg Donovan Foreign Relations Authorization Act, Fiscal
         Years 2000 and 2001, and not as part of the International Child Abduction Remedies Act which comprises this chapter.
           Section was formerly classified to section 11608a of Title 42, The Public Health and Welfare.


         §9010. Interagency coordinating group
            The Secretary of State, the Secretary of Health and Human Services, and the Attorney General shall designate Federal employees and may,
         from time to time, designate private citizens to serve on an interagency coordinating group to monitor the operation of the Convention and to
         provide advice on its implementation to the United States Central Authority and other Federal agencies. This group shall meet from time to time at
         the request of the United States Central Authority. The agency in which the United States Central Authority is located is authorized to reimburse
         such private citizens for travel and other expenses incurred in participating at meetings of the interagency coordinating group at rates not to
         exceed those authorized under subchapter I of chapter 57 of title 5 for employees of agencies.
         (Pub. L. 100–300, §10, Apr. 29, 1988, 102 Stat. 441.)

                                                                             CODIFICATION
           Section was formerly classified to section 11609 of Title 42, The Public Health and Welfare.


         §9011. Authorization of appropriations
            There are authorized to be appropriated for each fiscal year such sums as may be necessary to carry out the purposes of the Convention and
         this chapter.




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         (Pub. L. 100–300, §12, Apr. 29, 1988, 102 Stat. 442.)

                                                                 REFERENCES IN TEXT
            This chapter, referred to in text, was in the original "this Act" meaning Pub. L. 100–300, Apr. 29, 1988, 102 Stat. 437, which is
         classified principally to this chapter. For complete classification of this Act to the Code, see Short Title note under section 9001 of
         this title and Tables.

                                                                     CODIFICATION
           Section was formerly classified to section 11610 of Title 42, The Public Health and Welfare.




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